            Case 4:21-cv-00941-JM Document 36 Filed 04/25/22 Page 1 of 1
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS
                                     OFFICE OF THE CLERK
                            RICHARD SHEPPARD ARNOLD UNITED STATES
                             COURTHOUSE 600 WEST CAPITOL AVENUE,
                                           SUITE Aဨ149
                                  LITTLE ROCK, ARKANSAS 72201

Tammy H. Downs                                                                           (501) 604ဨ5351
   Clerk                                     April 25, 2022
Scott P. Richardson
1307 West 4th Street
Little Rock, Arkansas 772201


        Re:       Deficient Filing #2, Answer
                  Case No. 4:21-cv-00941 JM, Stone Works LLC v. Sims et al

Dear Mr. Richardson:

        The Clerk’s office reviewed the above-referenced document, which was filed
electronically, and found it to be deficient as follows:

                  Lacks an attorney’s name, address, telephone number, Bar number or email
                  address (General Order 53).

                  Lacks a signature block by an attorney of record (Local Rule 5.5(c)(1)).

                  Lacks a correct case number (Local Rule 5.5(a)).

                  Motion for continuance/extension of time does not contain a statement that the
                  movant contacted the adverse party with regard to the motion (Local Rule 6.2(b)).

                  Motion not accompanied by a supporting brief (Local Rule 7.2(a)).

         ✔        Corporate Disclosure Statement not filed with first appearance, pleading, petition,
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        To correct a document that has been filed, please email the corrected document in pdf
format to the Clerk’s office at clerksoffice@ared.uscourts.gov. Do not refile the document.
The original document will remain on the docket, and the response time will run from the date
of the original filing. Please electronically file a new supporting brief or corporate disclosure
statement.

                                                        Sincerely,

                                                        Tammy H. Downs, Clerk


                                                        By J. Kornegay
                                                              Deputy Clerk
